Case 5:19-cv-00738-AB-MRW Document 118 Filed 01/11/21 Page 1 of 1 Page ID #:1826




 1                                                                            JS-6
 2
 3
 4
 5
 6
 7
                       UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
 8
     Wilson Sporting Goods Co., a Delaware
 9   corporation,                                    No. 5:19-cv-00738 AB (MRW)
                      Plaintiff,                     Hon. Judge Andre Birotte, Jr.
10                                                   Courtroom: 7B
11                v.
12                                                   [PROPOSED] ORDER
     Monsta Athletics, LLC, a California             DISMISSING CASE
13   Limited Liability Company, and Carl             PURSUANT TO F.R.C.P. 41
     Pegnatori, an individual,
14
                        Defendant.
15
16
17
           The Court hereby dismisses this action with prejudice pursuant to Federal
18
     Rule 41(a)(1)(A)(ii), with each party to bear its own fees and costs.
19
20
        IT IS SO ORDERED.
21
22
     Dated: January 11, 2021
23
                                               Honorable André Birotte Jr.
24                                             United States District Judge
25
26
27


                                               -1–

                       ORDER DISMISSING CASE PURSUANT TO F.R.C.P. 41
